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UNITED STATES DisrRrCr CoURT

for the
District of Colorado

In the Matter of the Search of
Case No. lS-SW-00147-DLW
lnformation Associated with Facebook User lD
100003309358879, more fully described in
Attachment A, attached hereto, That is Stored at
Premises C-ontrolled by Facebook Inc.

(U nder Seal)

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APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer, request a search warrant and state under penalty of perjury that l have reason
10 believe that 0[1 the following p€I”SOl'l OI' prOp€l'ty (identzfv the person or describe the property to be searched andgz`ve irs focarion):

SEE “ATTACHMENT A”, Which is attached to and incorporated in this Application and Afiidavit

located in the State and District of Northern California and elsewhere , there is now concealed adean
the person or describe the property to be seized):

 

SEE “ATTACHMENT B”, which is attached to and incorporated in this App]ication and At`i`idavit

Tl”|€ bHSlS fOI' the S€af`Ch UHd€I` F€Cl. R. CI`IITl. P. 4l(C) iS (check one or more)l
§ evidence of a crime;
contraband, fruits of crime_. or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;
a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Ojj'ense Descrt`ptt`on
18 U.S.C. § 922(g)(5)(A) Alien in Possession ofa Firearm

The application is based on these facts:

}( Continued on the attached affidavit, which is incorporated by reference

l'_j Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 310321, the basis of which is set forth on the attached sheet.

 

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Special Agent Garrick Bewl ey, HSI
Prmtea' name and title
Sworn to before me and: [:l signed 1n my presence

 

|:l submitted attested to, and acknowledged by reliabF Wns.w'
Datel dizzle /6 v v \ l../

Jua'ge' si
City and state: Durango CO f

Prz`ntea` name and title
!\O 93 (Rev. ili']3) Search and Seizure Warrant

 

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AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT
Special Agent Garrick Bewley,
Homeland Security Investigations (HIS)

Durango, Colorado

1, Garriek Bewley, being duly sworn, hereby depose and state that the following is true to the best of my
information, knowledge, and belief:

INTRODUCTION

1. l am a Special Agent of Homeland Security Investigations (HSI), and have been since November 14,
2005. Currently, I am assigned to HSI Durango, Colorado. As an HSI Special Agent, 1 am responsible
for conducting criminal investigations into violations of Titles 8, 18, 19, 21 and 31 of the United States
Code, as well as other federal criminal titles and statutes. 1 was assigned to a high intensity drug
trafficking area (HIDTA) investigative group in McAllen, Texas in 2006, and then was assigned to a
financial crimes investigative group in San Antonio, Texas in 2009. 1 have been the lead case agent on
multiple organized crime drug enforcement task force (OCDETF) investigations Since being assigned
to HSl Durango, 1 have conducted and participated in drug trafficking investigations, human trafficking
investigations, as well as cyber-crimes investigations and other investigations into the violations of
immigration laws. As part of my duties, 1 investigate criminal violations relating to 18 USC
922(g)(5)(A). I have received training and instruction in the field of investigation of 18 USC
922(g)(5)(A), and have had the opportunity to participate in investigations relating to 18 USC
922(g)(5)(A). As part of my training and experience, l have participated in multiple investigations

involving electronic evidence: emails, text messages, and the lnternet.

2. This affidavit is made pursuant to Title 18, United States Code, Section 2703(a), 2703(b)(1)(A) and
2703(c)(1)(A), in support of an application for a warrant to search the e-mail account described in
Attachment A (hereinafter “SUBJECT ACCOUNT”) and all content found therein, there being probable
cause to believe that located in the place described in Attachment A are items described in Attachment

B, being evidence, fruits, and instrumentalities of violations of 18 USC 922(g)(5)(A).

 

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3. Because this affidavit is being submitted for the limited purpose of securing a search warrant, l have not
included each and every fact known to me concerning this investigationl 1 have set forth only the facts
that l believe are necessary to establish probable cause that evidence, fruits, and instrumentalities of

violations of 18 USC 922(g)(5)(A) are present at the location described

4. The information contained within the affidavit is based on my training and experience, as well as

information imparted to me by other law enforcement officers involved in this investigation

FACEBOOK BACKGROUND
5. Facebook owns and operates a free-access social networking website of the same name that can be
accessed at http://www.facebook.com. Facebook allows its users to establish accounts with Facebook,
and users can then use their accounts to share written news, photographs, videos, and other information

with other Facebook users, and sometimes with the general public.

6. Facebook asks users to provide basic contact and personal identifying information to Facebook, either
during the registration process or thereafter. This information may include the user’s full name, birth
date, gender, contact e-mail addresses, Facebook passwords, Facebook security questions and answers
(for password retrieval), physical address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identitiers. Facebook also assigns a user identification number to

each account

7. Facebook users may join one or more groups or networks to connect and interact with other users who
are members of the same group or network. Facebook assigns a group identification number to each
group. A Facebook user can also connect directly with individual Facebook users by sending each user
a “Friend Request.” lf the recipient ot`a “Friend Request” accepts the request, then the two users will
become “Friends” for purposes of Facebook and can exchange communications or view information
about each other. Each Facebook user’s account includes a list of that user’s “Friends” and a “News

Feed,” which highlights information about the user’s “Friends,” such as profile changes, upcoming

 

 

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events, and birthdays.

Facebook users can select different leveis of privacy for the communications and information associated
with their Facebook accounts. By adjusting these privacy settings, a Facebook user can make
information available only to himself or herself, to particular Facebook users, or to anyone with access
to the Internet, including people who are not Facebook users. A Facebook user can also create “lists” of
Facebook friends to facilitate the application of these privacy settings. Facebook accoLmts also include
other account settings that users can adjust to control, for example, the types of notifications they receive

from Facebook.

Facebook users can create profiles that include photographs, lists of personal interests, and other
information Facebook users can also post “status” updates about their whereabouts and actions, as well
as links to videos, photographs, articles, and other items available elsewhere on the Internet. Facebook
users can also post information about upcoming “events,” such as social occasions, by listing the event’s
time, location, host, and guest list. In addition, Facebook users can “check in” to particular locations or
add their geographic locations to their Facebook posts, thereby revealing their geographic locations at
particular dates and times. A particular user’s profile page also includes a “Wall,” which is a Space
where the user and his or her “Friends’7 can post messages, attachments, and links that will typically be

visible to anyone who can view the user’s profile.

Facebook allows users to upload photos and videos, which may include any metadata Such as location

that the user transmitted when s/he uploaded the photo or video. lt also provides users the ability to
“tag” (i.e., label) other Facebool< users in a photo or video. When a user is tagged in a photo or vidco,
he or she receives a notification of the tag and a link to see the photo or video. For Facebook’s
purposes, the photos and videos associated with a user’s account will include all photos and videos

uploaded by that user that have not been deleted, as well as all photos and videos uploaded by any user

that have that user tagged in them.

 

 

    

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Facebook users can exchange private messages on Facebook with other users. These messages, which
are similar to e-mail messages, are sent to the recipient’s “Inbox” on Facebook, which also stores copies
of messages sent by the recipient, as well as other information Facebook users can also post comments
on the Facebook profiles of other users or on their own protiles; such comments are typically associated 5
with a specific posting or item on the profile. In addition, Facebook has a Chat feature that allows users

to send and receive instant messages through Facebook. These chat communications are stored in the

chat history for the account. Facebook also has a Video Calling feature, and although Facebook does

not record the calls themselves, it does keep records of the date of each call.

lf a Facebook user does not want to interact with another user on Facebook, the first user can “block”

the second user from seeing his or her account

Facebook has a “like” feature that allows users to give positive feedback or connect to particular pages.
Facebook users can “like” Facebook posts or updates, as well as webpages or content on third-party (i.e.,

non-Facebook) websites. Facebook users can also become “fans” of particular Facebook pages.

Facebook has a search function that enables its users to search Facebook for keywords, usernames, or

pages, among other things.

Each Facebook account has an activity log, which is a list of the user’s posts and other Facebook
activities from the inception of the account to the present The activity log includes stories and photos
that the user has been tagged in, as well as connections made through the account, such as “1iking” a
Facebook page or adding someone as a friend The activity log is visible to the user but cannot be

viewed by people who visit the user’s Facebook page.

Facebook Notes is a blogging feature available to Facebook users, and it enables users to write and post

notes or personal web logs (“blogs”), or to import their blogs from other services, such as Xanga,

Livelournal, and Blogger.

 

 

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The Facebook Gifts feature allows users to send virtual “gifts” to their friends that appear as icons on the
recipient’s profile page. Gifts cost money to purchase, and a personalized message can be attached to
each gift. Facebook users can also send each other “pokes,” which are free and simply result in a

notification to the recipient that he or she has been “poked” by the sender.

Facebook also has a Marketplace feature, which allows users to post free classified ads. Users can post

items for sale, housing, jobs, and other items on the lviarketplace.

ln addition to the applications described above, Facebook also provides its users with access to
thousands of other applications (“apps”) on the Facebook platform When a Facebook user accesses or
uses one of these applications, an update about that the user’s access or use of that application may

appear on the user’s profile page.

Facebook uses the term “Neoprint” to describe an expanded view of a given user profile. The
“Neoprint” for a given user can include the following information from the user’s profile: profile
contact information; News Feed information; status updates; links to videos, photographs, articles, and
other items; Notes; Wall postings; friend lists, including the friends’ Facebook user identification
numbers; groups and networks of which the user is a member, including the groups’ Facebook group
identification numbers; future and past event postings; rejected “Friend” requests; comments; gif`ts;

pokes; tags; and information about the user’s access and use of Facebook applications

Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP address These logs may
contain information about the actions taken by the user ID or IP address on Facebook, including
information about the type of action, the date and time of the action, and the user lD and lP address
associated with the action. For example, if a user views a Facebook profile, that user’s IP log would
reflect the fact that the user viewed the profile, and would show when and from what IP address the user

did So.

Social networking providers like Facebook typically retain additional information about their users’

 

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accounts, such as information about the length of service (including start date), the types of service
utilized, and the means and source of any payments associated with the service (including any credit
card or bank account number). In some cases, Facebook users may communicate directly with
Facebook about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain records about
such communications including records of contacts between the user and the provider’s support
services, as well as records of any actions taken by the provider or user as a result of the

communications

As explained herein, information stored in connection with a Facebook account may provide crucial
evidence of the “who, what, why, when, where, and how” of the criminal conduct under investigation
thus enabling the United States to establish and prove each element or alternatively, to exclude the
innocent from further suspicion In my training and experience, a Facebook user’s “Neoprint,” IP log,
stored electronic communications and other data retained by Facebook, can indicate who has used or
controlled the Facebook account This “user attribution" evidence is analogous to the search for “indicia
of occupancy” while executing a search warrant at a residence F or example, profile contact
information private messaging logs, status updates, and tagged photos (and the data associated with the
foregoing, such as date and time) may be evidence of who used or controlled the Facebook account at a
relevant time. Further, Facebook account activity can show how and when the account was accessed or
used For example, as described herein, Facebook logs the Internet Protocol (IP) addresses from which
users access their accounts along with the time and date. By determining the physical location
associated with the logged IP addresses, investigators can understand the chronological and geographic
context of the account access and use relating to the crime under investigation Such information allows
investigators to understand the geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation Additionally, Facebook builds geo-location into some
of its services Geo-location allows, for example, users to “tag” their location in posts and Facebook

“friends” to locate each other. This geographic and timeline information may tend to either inculpate or

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exculpate the Facebook account owner. Last, Facebook account activity may provide relevant insight
into the Facebook account owner’s state of mind as it relates to the offense under investigation For
example, information on the Facebook account may indicate the owner’s motive and intent to commit a
crime (e-.g., information indicating a plan to commit a crime), or consciousness of guilt (e.g., deleting

account information in an effort to conceal evidence from law enforcement).

24. Therefore, the computers of Facebook are likely to contain all the material described herein, including
stored electronic communications and information concerning subscribers and their use of Facebook,

such as account access information transaction information and other account information

PROBABLE CAUSE

25. On June 28, 2018, Jesper JOERGENSEN was arrested by the Costilla County Sheriff’s Office for First
Degree Arson (C.R.S. 18-4-102(1)), a class three felony in the State of Colorado. A search incident to
arrest of his vehicle by Costilla County Sheriff`s Deputy Karina Garcia revealed two firearms Costilla
County Sheriff"s Deputy Keitli Shultz identified one as a US Model of 1917 Eddystone 311-06 bolt action
rifle with serial number 865862, and identified the other as a Traditions Evolutions .50 caliber black
powder muzzle loader with serial number 14-13-012646-15. Ammunition for the 30'06 rifle was also

found JOERGENSEN also had a passport from Denmark in his possession

26. The Costilla County Sheriff’s Office contacted the Immigration and Customs Enforcement (lCE),
Enforcement and Removal Operations (ERO) office in Alamosa, Colorado for assistance in determining
the immigration status of JOERGENSEN. Supervisory Detention and Deportation Officer (SDDO) Paul
Gearhart positively identified JOERGENSEN with the use of a portable automatic fingerprint scanner,

and determined JOERGENSEN was unlawfully present in the United States with an expired BlfBZ

 

visitor’s visa. SDDO P. Gearhart contacted HSI Durango regarding the status of JOERGENSEN and the

firearms found in his possession

27. On June 29, 2018, HSI Special Agent (SA) Garrick Bewley and HSI SA Reynaldo Lovos interviewed

 

 

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JOERGENSEN at the Costilla County Sheriff`s Office in San Luis, Colorado. Prior to any questioningJ
JOERGENSEN was advised his Miranda rights in the English language, both verbally and in writing
JOERGENSEN was asked if he was comfortable with receiving advisement of his rights in the English
language, and he stated he was comfortable with the English language JOERGENSEN was then asked
if he understood his rights and he stated he did understand his rights and initialed by each of the written
rights indicating so. JOER.GENSEN was then asked if he was willing to waive his rights and answer
questions and he stated he was willing and indicated so by signing the written Miranda rights form.
JOERGENSEN stated he was born on March 29, 1966 in Denmark and entered the United States in July
2012 with a tourist visa. JOERGENSEN stated approximately two years prior (2016) he purchased the
US l\/lodel of 1917 Eddystone 30-06 bolt action rifle from a Hispanic male in Blanca, Colorado or Ft.
Garland, Colorado for 8200.00 (US) in cash. JOERGENSEN stated he successfully fired the firearms

and used it to defend against wildlife

A search of publicly accessible information of Facebook revealed accounts evidently maintained by
JOERGENSEN. One account, identified by Facebook account number 100003309358879, revealed
photos of JOERGENSEN, his full name and multiple photographs of firearms posted on the account, to

include one of the firearms recovered from his vehicle during his arrest

On August 02, 2018, HSI SA G. Bewley submitted an account preservation request to Facebook, which

was subsequently granted (lnternal Facebook Case Number: 1888021).

On August 03, 2018, HSI SA G. Bewley successfully test fired the US Model of 1917 Eddystone bolt

action rifle by firing one 30-06 round through the weapon

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

i anticipate executing this warrant under the Electronic Communications Privacy Act, in particular 18
U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A)_. by using the warrant to require Facebook to

disclose to the government copies of the records and other information (including the content of

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communications) particularly described in Section 1 of Attachment B. Upon receipt of the information
described in Section 1 of Attachment B, government-authorized persons will review that information to

locate the items described in Section 11 of Attachment B.

32. This application seeks a warrant to search all responsive records and information under the control of
Facebook, a provider subject to the jurisdiction of this court, regardless of Where Facebook has chosen
to store such information The government intends to require the disclosure pursuant to the requested
warrant of the contents of wire or electronic communications and any records or other information
pertaining to the customers or subscribers if such communication, record, or other information is within

t Facebook’s possession, custody, or control, regardless of whether such communication, record, or other

information is stored, held, or maintained outside the United States.

CONCLUSION

33. This Court has jurisdiction to issue the requested warrant because it is “a court of competent
jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(])(A) &
(c)(l)(A). Specifically, the Court is “a district court of the United States . . . that - has jurisdiction over

the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

34. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not required for the service

or execution of this warrant.

35. Based on the aforementioned factual information, I respectfully submit that there is probable cause to
believe that evidence, fruits, and instrumentalities of 18 USC 922(g)(5)(A) may be located within the

Facebook account described in Attachment A.

36. I, therefore, respectfully request that the attached warrant be issued authorizing the search and seizure of

the items listed in Attachment B.

 

 

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Garrick Bewley, "Spec~i-al¢@nt

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United §tatesVMagistrate Judge

Af`t"ldavit reviewed and submitted by Jeff`rey Graves, Assistant United States Attorney.

 

 

 

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ATTACHMENT A
DESCRIPTION OF LOCATION TO BE SEARCHED
This warrant applies to information associated with the Facebook user ID 1000033 093 58879 that is stored at

premises owned, maintained, controlled, or operated by Facebook lnc., a company headquartered in Menlo

Park, California (“PR()VIDER”).

 

 

 

 

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ATTACHMENT B

DESCRIPTION OF ITEMS TO BE SEIZED

Pursuant to 18 U.S.C. § 2703, PROVIDER as described in Attachment A is hereby ordered as follows:

l. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is within the possession, custody, or

control of Facebook lnc. (“Facebook”), including any messages, records, files, logs, or information that

have been deleted but are still available to Facebook, or have been preserved pursuant to a request made

under 18 U.S.C. § 2703 (f), Facebook is required to disclose the following information to the government

for each user ID listed in Attachment A, regardless of whether such information is stored, held or

maintained inside or outside of the United States :

('d)

(b)

(C)

(d)

All contact and personal identifying information, including full name, user identification
number, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook
security questions and answers, physical address (including city, state, and zip code),
telephone numbers, screen names, websites, and other personal identifiers;

All activity logs for the account and all other documents showing the user’s posts and
other Facebook activities;

All photos and videos uploaded by that user ID and all photos and videos uploaded by
any user that have that user tagged in them;

All profile information; News Feed information; status updates; links to videos,
photographs, articles, and other items; Notes; Wall postings; friend lists, including the
friends’ Facebook user identification numbers; groups and networks of which the user is

a member, including the groups’ Facebook group identification numbers; future and past

 

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event postings; rejected “Friend” requests; comments; gifts; pokes; tags', and information
about the user’s access and use of Facebook applications;

All other records of communications and messages made or received by the user,
including all private messages, chat history, video calling history, and pending “Friend”
requests;

All “check ins” and other location information',

All IP logs, including all records of the IP addresses that logged into the account;

All records of the account’s usage of the “Like” feature, including all Facebook posts and
all non-Facebook webpages and content that the user has “1iked”;

All information about the Facebook pages that the account is or was a “fan” of;

All past and present lists of friends created by the account;

All records of Facebook searches performed by the account;

All information about the user’s access and use of Facebook Marketplace;

The types of service utilized by the user;

The length of service (including start date) and the means and source of any payments
associated with the service (including any credit card or bank account number);

All privacy settings and other account settings, including privacy settings for individual
Facebook posts and activities, and all records showing which Facebook users have been
blocked by the account;

All records pertaining to communications between Facebook and any person regarding
the user or the user’s Facebook account, including contacts with support services and

records of actions taken.

 

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(q) All physical location data collected by Facebook for the user of the account, including
any data collected by Facebook’s location services via the user’s mobile phone or other
device, on a real~time or near-real time basis Facebook is required to provide any such
data they collect, regardless of the time of day.

II. Information to be seized by the government

All information described above in Section 1 that constitutes fruits, evidence and instrumentalities of

violations of 18 USC 922(g)(5)(A) involving the account described more fully in Attachment A since July

01, 2012, including, for each user iD identified on Attachment A, information pertaining to the following

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(a) Documentation of unlawful possession of firearms

(b) Evidence indicating how, when, and where the Facebook account was accessed or used,
to determine the chronological and geographic context of account access, use, and events
relating to the crime under investigation and to the Facebook account owner;

(c) Location information relevant to the crime under investigation and that helps identify the
user of the account or events relating to the crime to determine the chronological and
geographic context of account access, use, and events relating to the crime under
investigation and to the Facebook account owner and the owner’s contacts;

(d) Evidence indicating the Facebook account owner’s state of mind as it relates to the crime
under investigation;

(e) The identity of the person(s) who created or used the user ID, including records that help
reveal the whereabouts of such person(s).

(t) The identity of the person(s) who communicated with the user ID about matters relating

to unlawful possession of firearms, including records that help reveal their whereabouts

